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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW HAMPSHIRE

UNITED STATES OF AMERICA               )
                                       )
               v.                      )                           1:24-cr-121-SM-AJ-01
                                       )
GICLIFF RODRIGUEZ,                     )
   (a/k/a “SEGA”),                     )
Defendant                              )
______________________________________ )

                                           INDICTMENT

The Grand Jury charges:

                                          COUNT ONE
                                       Firearms Trafficking
                                  18 U.S.C. §§ 933(a)(2) & 933(b)

          On or about February 25, 2024, in the District of New Hampshire, defendant

                                     GICLIFF RODRIGUEZ
                                        (a/k/a “SEGA”)

did receive from another person, in or otherwise affecting interstate or foreign commerce, three

firearms, to wit: one Glock Model 29SF 10mm semi-automatic pistol bearing serial number

BXMV125, one Glock Model 26 Gen4 9mm semi-automatic pistol bearing serial number

WRF788, and one Glock Model 27 Gen5 .40 caliber semi-automatic pistol bearing serial number

CAYZ731, knowing or having reasonable cause to believe that such receipt would constitute a

felony.

          In violation of Title 18, United States Code, Sections 933(a)(2) & 933(b).
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                                            COUNT TWO
                             Possession of Firearms by a Prohibited Person
                                  18 U.S.C. §§ 922(g)(1) & 924(a)(8)

                  On or about February 25, 2024, in the District of New Hampshire, defendant

                                       GICLIFF RODRIGUEZ
                                          (a/k/a “SEGA”)


   knowing that he had been convicted of a crime punishable by imprisonment for a term exceeding

   one year, did knowingly possess in and affecting interstate commerce, the following firearms:

   one Glock Model 29SF 10mm semi-automatic pistol bearing serial number BXMV125, one

   Glock Model 26 Gen4 9mm semi-automatic pistol bearing serial number WRF788, and one

   Glock Model 27 Gen5 .40 caliber semi-automatic pistol bearing serial number CAYZ731.

           In violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(8).



   Dated: December 18, 2024                             A TRUE BILL


                                                        /s/ Foreperson of the Grand Jury
                                                        Foreperson of the Grand Jury
   JANE E. YOUNG
   United States Attorney


By: /s/ Tiffany Scanlon
    Tiffany Scanlon
    Assistant United States Attorney




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